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                          UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF TEXAS
                               WICHITA FALLS DIVISION


    IN RE:                                        §
                                                  §
    HIGH PLAINS RADIO NETWORK                     §            CASE NO. 24-70089-swe
    LLC,                                          §
                                                  §               (Chapter 11, SubV)
                DEBTOR.                           §


                             AMENDED SCHEDULES AND/OR
                           STATEMENT OF FINANCIAL AFFAIRS

        I declare under penalty of perjury that I have read the following summary of schedules,
 schedules, and statement of financial affairs, and that they are true and correct to the best of my
 knowledge, information, and belief.

                                                   HIGH PLAINS RADIO NETWORK, LLC

                                                   By:     /s/ Monte L. Spearman
                                                           Monte L. Spearman,
                                                           Managing Member

 PROPOSED ATTORNEYS FOR DEBTOR

 Jeff Carruth, SBT #24001846
 WEYCER, KAPLAN, PULASKI & ZUBER, P.C.
 2406 Hibernia Ste. 105
 Dallas TX 75204
 Phone: (713) 341-1158
 jcarruth@wkpz.com




 AMENDED SCHEDULES AND SOFA COVER SHEET AND ADDENDA — Page 1
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                        Preliminary Statement, Disclaimer, and Reservation of Rights
                          Regarding Schedules and Statement of Financial Affairs

 The information contained in the following Debtor’s schedules and related statements,
 disclosures, and lists in this Bankruptcy Case (collectively, the “Schedules”) represents the
 information the Debtor has developed to date through its investigation of the assets, liabilities,
 and affairs of the Debtor and the estate. The Debtor’s continuing review of its pre-petition books
 and records could yield additional information that would change or expand the information
 contained in the Schedules. Furthermore, while every effort has been made to file complete and
 accurate Schedules, inadvertent errors or omissions may exist. ACCORDINGLY, THE
 DEBTOR RESERVES THE RIGHT TO AMEND THE SCHEDULES. THE DEBTOR
 DOES NOT WAIVE ANY ISSUE OF FACT, REMEDY, CLAIM, OR DEFENSE
 PERTAINING TO ANY MATTER ADDRESSED HEREIN.

 Likewise, the lack of notation of a setoff on Schedule F in the checkbox does not limit the
 Debtor from asserting a right of setoff and/or amended these schedules accordingly. The Debtor
 reserves the right to dispute, or assert offsets or defenses to, any claim reflected in the Schedules
 as to amount, liability, or classification, or otherwise subsequently designate any claims to be
 “contingent,” “unliquidated,” and/or “disputed.”

 All amounts listed are subject to update and verification.




 AMENDED SCHEDULES AND SOFA COVER SHEET AND ADDENDA — Page 2
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 Various addenda and/or supplements follow the main schedules. An index appears below.

          Item                                       Description
 AB 50                  Radio station and broadcast equipment detail
 AB 69                  Lease and FCC license status
 Schedule G             Non-vertical bridge tower detail
 Schedule G             Office lease detail
 Schedule H             Co-debtors on equipment loans
 SOFA 3                 90 day transaction list
 SOFA 4, 30             Payments to insiders, 1 year
 SOFA 11                Tie in to motion to employ, attorney fee disclosure


 Additional notes.

         Item                                      Description
 AB 39, 40, 41, 47      Other AB equipment is included in the AB 50 addendum.

 AB 50                  Valuation method used for the radio station and broadcast equipment
                        is the replacement value. Current market value would be less than
                        replacement value. Debtor continues to asset current market value and
                        may amend the schedules accordingly.

 AB 62                  FCC leases – Debtor has previously published a list of stations and
                        licenses status. Docket No. 23, Exhibit H009.

                        Debtor has updated this list with Exhibit H013 filed at Docket No. 67.
                        This exhibit is included with the Schedules due to creditor comment.

 D – equipment claims   Debtor is continuing to review the collateral set of each equipment
                        lender versus the particular items of equipment claimed by each
                        creditor. Debtor serves the right to amend the value of each claim.
                        Debtor also is verifying the amounts of the claims. Accordingly, the
                        equipment lenders are marked as “disputed” in this filing.

 G. 2.14                The list of active leases with Vertical Bridge as of the petition date is
                        under review. Various leases may have expired, terminated, or
                        otherwise discontinued prior to the petition date. Debtor reserves all
                        rights, facts, claims, issues, rights, remedies, and defenses in this
                        regard.




 AMENDED SCHEDULES AND SOFA COVER SHEET AND ADDENDA — Page 3
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 Fill in this information to identify the case:

 Debtor name            High Plains Radio Network, LLC

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF TEXAS

 Case number (if known)               24-70089
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                  0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $       3,604,902.47

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $       3,604,902.47


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $       1,337,076.10


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                  0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$       2,440,810.38


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          3,777,886.48




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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Fill in this information to identify the case:

Debtor name        High Plains Radio Network, LLC

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF TEXAS

Case number (if known)      24-70089
                                                                                                                      Check if this is an
                                                                                                                            amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                            12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                            debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                  Last 4 digits of account
                                                                                                 number


           3.1.   Guaranty Bank                                  Checking                        3917                                        $441.23




           3.2.   BancFirst                                      Checking                        0273                                   $2,317.21




           3.3.   Cattlemens Bank                                Checking                        2929                                         $70.87




           3.4.   FNBC                                           Checking                        8559                                        $724.18




           3.5.   First State Bank                               Checking                        6875                                   $1,975.36




           3.6.   Partners Bank                                   Checking                       6037                                   $1,240.47




Official Form 206A/B                             Schedule A/B Assets - Real and Personal Property                                              page 1
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Debtor            High Plains Radio Network, LLC                                           Case number (If known) 24-70089
                  Name




           3.7.     Waggoner National Bank                             Checking                             6715                     $717.15



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                      $7,486.47
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.

Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.
11.        Accounts receivable
           11a. 90 days old or less:                    180,416.00      -                                   0.00 = ....          $180,416.00
                                         face amount                         doubtful or uncollectible accounts




12.        Total of Part 3.                                                                                                    $180,416.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:           Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.

Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

Part 6:           Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.

Part 7:           Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Official Form 206A/B                                   Schedule A/B Assets - Real and Personal Property                                 page 2
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              Name

           General description                                            Net book value of          Valuation method used     Current value of
                                                                          debtor's interest          for current value         debtor's interest
                                                                          (Where available)

39.        Office furniture
           Office furniture values at all four offices, est.
           value. Listed with AB-50 addenda.                                               $0.00                                         $10,000.00



40.        Office fixtures
           Office fixtures at all four offices, est. value.
           Listed with AB-50 addenda.                                                      $0.00                                         $10,000.00



41.        Office equipment, including all computer equipment and
           communication systems equipment and software
           Office equipment, computers, etc. estimated                                     $0.00                                         $86,000.00



42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

43.        Total of Part 7.                                                                                                            $106,000.00
           Add lines 39 through 42. Copy the total to line 86.

44.        Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No. Go to Part 9.
    Yes Fill in the information below.
           General description                                            Net book value of          Valuation method used     Current value of
           Include year, make, model, and identification numbers          debtor's interest          for current value         debtor's interest
           (i.e., VIN, HIN, or N-number)                                  (Where available)

47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.   Vehicles estimated. Listed with AB-50
                   addenda.                                                                $0.00                                         $31,000.00



48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Broadcast equipment at various radio station
           locations. SEE ADDENDUM                                                         $0.00     Replacement                      $3,280,000.00

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                          page 3
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Debtor        High Plains Radio Network, LLC                                           Case number (If known) 24-70089
              Name




51.        Total of Part 8.                                                                                                   $3,311,000.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
Part 9:       Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
    Yes Fill in the information below.

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No. Go to Part 11.
    Yes Fill in the information below.
           General description                                        Net book value of         Valuation method used     Current value of
                                                                      debtor's interest         for current value         debtor's interest
                                                                      (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites

62.        Licenses, franchises, and royalties
           FCC radio station licenses                                                $0.00                                            Unknown



63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                             $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            No
            Yes
68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            No
            Yes
69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            No
            Yes
Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 4
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Debtor      High Plains Radio Network, LLC                                                Case number (If known) 24-70089
            Name

   Include all interests in executory contracts and unexpired leases not previously reported on this form.

   No. Go to Part 12.
   Yes Fill in the information below.
                                                                                                                            Current value of
                                                                                                                            debtor's interest


71.      Notes receivable
         Description (include name of obligor)

72.      Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

73.      Interests in insurance policies or annuities

74.      Causes of action against third parties (whether or not a lawsuit
         has been filed)
         Various claims vs. Vertical Bridge for breach of
         contract, tortious interference, etc, as set forth in the
         Florida litigaton.                                                                                                            Unknown
         Nature of claim
         Amount requested                                       $0.00



75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

78.      Total of Part 11.                                                                                                                $0.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
          No
          Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                         page 5
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Debtor          High Plains Radio Network, LLC                                                                      Case number (If known) 24-70089
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $7,486.47

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                   $180,416.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                        $106,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $3,311,000.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                         $3,604,902.47            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $3,604,902.47




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                           page 6
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Fill in this information to identify the case:

Debtor name          High Plains Radio Network, LLC

United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

Case number (if known)              24-70089
                                                                                                                                      Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1    Ailco                                        Describe debtor's property that is subject to a lien                  $24,453.00               $24,453.00
       Creditor's Name                              Broadcasting Equipment
       W222 N833 Chaney Rd
       Waukesha, WI 53186
       Creditor's mailing address                   Describe the lien
                                                    Leases/purchase money/dealer contract
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0148
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative
       priority.
                                                     Disputed


2.2    Amur                                         Describe debtor's property that is subject to a lien                  $74,778.00               $74,778.00
       Creditor's Name                              Broadcasting Equipment
       304 W. 3rd St
       Grand Island, NB 68801
       Creditor's mailing address                   Describe the lien
                                                    Leases/purchase money/dealer contract
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3897
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                             page 1 of 10
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Debtor      High Plains Radio Network, LLC                                                        Case number (if known)      24-70089
            Name

       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


2.3   Amur                                        Describe debtor's property that is subject to a lien                     $107,115.00     $107,115.00
      Creditor's Name                             Broadcasting Equipment
      304 W. 3rd St
      Grand Island, MB 68801
      Creditor's mailing address                  Describe the lien
                                                  Leases/purchase money/dealer contract
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      7515
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


2.4   Amur                                        Describe debtor's property that is subject to a lien                      $61,782.00      $61,782.00
      Creditor's Name                             Broadcasting Equipment
      304 W. 3rd St
      Grand Island, NB 68801
      Creditor's mailing address                  Describe the lien
                                                  Leases/purchase money/dealer contract
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1524
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


2.5   Amur                                        Describe debtor's property that is subject to a lien                      $80,761.00      $80,761.00
      Creditor's Name                             Broadcasting Equipment
      304 W. 3rd St
      Grand Island, NB 68801
      Creditor's mailing address                  Describe the lien
                                                  Leases/purchase money/dealer contract
                                                  Is the creditor an insider or related party?
                                                   No

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 2 of 10
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Debtor      High Plains Radio Network, LLC                                                        Case number (if known)     24-70089
            Name

      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      8766
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


2.6   Ascentium                                   Describe debtor's property that is subject to a lien                     $59,700.00      $59,700.00
      Creditor's Name                             Broadcasting Equipment
      23970 HWY 59 Nth.
      Kingwood, TX 77339
      Creditor's mailing address                  Describe the lien
                                                  Leases/purchase money/dealer contract
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1524
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


2.7   Balboa                                      Describe debtor's property that is subject to a lien                     $71,295.00      $71,295.00
      Creditor's Name                             Broadcasting Equipment
      575 Anton Blvd 12th Flr.
      Costa Mesa, CA 92626
      Creditor's mailing address                  Describe the lien
                                                  Leases/purchase money/dealer contract
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      3000
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


2.8   Blue Ridge                                  Describe debtor's property that is subject to a lien                     $94,550.00      $94,550.00

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Debtor      High Plains Radio Network, LLC                                                        Case number (if known)      24-70089
            Name

      Creditor's Name                             Broadcasting Equipment
      11921 Freedom Dr.
      Reston VA, VA 20190
      Creditor's mailing address                  Describe the lien
                                                  Leases/purchase money/dealer contract
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      2995
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


2.9   Crest Capitol                               Describe debtor's property that is subject to a lien                      $29,061.00      $29,061.00
      Creditor's Name                             Broadcasting Equipment
      PO Box 88233
      Atlanta, GA 30356
      Creditor's mailing address                  Describe the lien
                                                  Leases/purchase money/dealer contract
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9830
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


2.1
0     Crest Capitol                               Describe debtor's property that is subject to a lien                     $147,297.00     $147,297.00
      Creditor's Name                             Broadcasting Equipment
      PO Box 88233
      Atlanta, GA 30356
      Creditor's mailing address                  Describe the lien
                                                  Leases/purchase money/dealer contract
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0629


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            Name

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


2.1   Eastland County Appraisal
1     District                                    Describe debtor's property that is subject to a lien                      $3,544.04       $3,544.04
      Creditor's Name
      c/o McCreary Veselka
      Bragg & Allen
      PO Box 1269
      Round Rock, TX
      78680-1269
      Creditor's mailing address                  Describe the lien
                                                  Staturory tax lien
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative     Disputed
      priority.



2.1
2     Hamni Bank                                  Describe debtor's property that is subject to a lien                     $95,217.00      $95,217.00
      Creditor's Name                             Broadcasting Equipment
      5403 Olympic Dr. #200
      Gig Harbor, WA 98335
      Creditor's mailing address                  Describe the lien
                                                  Leases/purchase money/dealer contract
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      8603
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


2.1
3     Hitachi                                     Describe debtor's property that is subject to a lien                     $43,676.00      $43,676.00



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            Name

      Creditor's Name




      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0001
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


2.1
4     Marlin - Peak Com.                          Describe debtor's property that is subject to a lien                      $51,467.00      $51,467.00
      Creditor's Name                             Broadcasting Equipment
      300 Fellowship Rd
      Mt. Laurel, NJ 08054
      Creditor's mailing address                  Describe the lien
                                                  Leases/purchase money/dealer contract
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      3596
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


2.1
5     Meridian                                    Describe debtor's property that is subject to a lien                     $106,275.00     $106,275.00
      Creditor's Name                             Broadcasting Equipment
      367 Eagleview Blud.
      Exton, PA 19341
      Creditor's mailing address                  Describe the lien
                                                  Leases/purchase money/dealer contract
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      3002

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            Name

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


2.1
6     Mitsubishi HC                               Describe debtor's property that is subject to a lien                      $45,975.00      $45,975.00
      Creditor's Name                             Broadcasting Equipment
      7201 Metro Blvd. Ste 800
      Edina, MN 55439
      Creditor's mailing address                  Describe the lien
                                                  Leases/purchase money/dealer contract
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0001
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


2.1
7     New Lane Fin. B-M                           Describe debtor's property that is subject to a lien                      $11,609.00      $11,609.00
      Creditor's Name                             Broadcasting Equipment
      801 Landcaster Ave
      Bryn Mawr, PA 19010
      Creditor's mailing address                  Describe the lien
                                                  Leases/purchase money/dealer contract
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      RWBM
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


2.1
8     Pawnee                                      Describe debtor's property that is subject to a lien                     $106,142.00     $106,142.00
      Creditor's Name                             Broadcasting Equipment
      3801 Automation Way #207
      Ft Collins, CO 80525


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Debtor      High Plains Radio Network, LLC                                                        Case number (if known)     24-70089
            Name

      Creditor's mailing address                  Describe the lien
                                                  Leases/purchase money/dealer contract
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      7609
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


2.1
9     SBA Covid-19 Disater Loan                   Describe debtor's property that is subject to a lien                     $65,000.00      $65,000.00
      Creditor's Name                             SBA Covid-19 Disater Loan
      PO Box 3918
      Portland, OR 97208-3918
      Creditor's mailing address                  Describe the lien
                                                  Blanket lien
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      8005
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


2.2
0     Summit                                      Describe debtor's property that is subject to a lien                     $13,951.00      $13,951.00
      Creditor's Name                             Broadcasting Equipment
      4680 Parkway Dr #300
      Mason, OH 45040
      Creditor's mailing address                  Describe the lien
                                                  Leases/purchase money/dealer contract
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4001
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




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Debtor      High Plains Radio Network, LLC                                                        Case number (if known)     24-70089
            Name

       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


2.2
1     Summit                                      Describe debtor's property that is subject to a lien                     $38,666.00      $38,666.00
      Creditor's Name




      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4002
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


2.2   The County of Henderson,
2     Texas                                       Describe debtor's property that is subject to a lien                      $1,237.65       $1,237.65
      Creditor's Name
      c/o McCreary Veselka
      Bragg & Allen
      PO Box 1269
      Round Rock, TX
      78680-1269
      Creditor's mailing address                  Describe the lien
                                                  Staturory tax lien
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


2.2   The County of Stephens,
3     Texas                                       Describe debtor's property that is subject to a lien                      $3,524.41       $3,524.41




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      Creditor's Name
      c/o McCreary Veselka
      Bragg & Allen
      PO Box 1269
      Round Rock, TX
      78680-1269
      Creditor's mailing address                  Describe the lien
                                                  Staturory tax lien
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


                                                                                                                           $1,337,076.1
3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       0

Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




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Fill in this information to identify the case:

Debtor name        High Plains Radio Network, LLC

United States Bankruptcy Court for the:         NORTHERN DISTRICT OF TEXAS

Case number (if known)          24-70089
                                                                                                                                                   Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.

Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $17,524.53
          American Express                                                   Contingent
          PO Box 6031                                                        Unliquidated
          Carol Stream, IL 60197-6031                                        Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Travel & Equipment
          Last 4 digits of account number 1000
                                                                            Is the claim subject to offset?    No  Yes
3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $2,269.32
          American Express                                                   Contingent
          PO Box 6031                                                        Unliquidated
          Carol Stream, IL 60197-6031                                        Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Travel & Equipment
          Last 4 digits of account number 1007
                                                                            Is the claim subject to offset?    No  Yes
3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $26,821.53
          American Express                                                   Contingent
          PO Box 6031                                                        Unliquidated
          Carol Stream, IL 60197-6031                                        Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Travel & Equipment
          Last 4 digits of account number 1007
                                                                            Is the claim subject to offset?    No  Yes
3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                        $655.00
          American Express                                                   Contingent
          PO Box 6031                                                        Unliquidated
          Carol Stream, IL 60197-6031                                        Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Travel & Equipment
          Last 4 digits of account number 2009
                                                                            Is the claim subject to offset?    No  Yes




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3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $900.00
         Arrakis Automations                                        Contingent
         6604 Powell St                                             Unliquidated
         Loveland, Co 80537                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Automation Service
         Last 4 digits of account number 0
                                                                   Is the claim subject to offset?    No  Yes
3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $105,000.00
         ASCAP                                                      Contingent
         250 West 57th St                                           Unliquidated
         New York, NY 10107                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Royalties
         Last 4 digits of account number 3789
                                                                   Is the claim subject to offset?    No  Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $5,500.00
         ASCAP                                                      Contingent
         250 West 57th St                                           Unliquidated
         New York, NY 10107                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Royalties
         Last 4 digits of account number 3789
                                                                   Is the claim subject to offset?    No  Yes
3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $385.00
         Atmos Energy                                               Contingent
         PO Box 740353                                              Unliquidated
         Cincinnati, OH 45274-0353                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Natural Gas Utility
         Last 4 digits of account number 4071
                                                                   Is the claim subject to offset?    No  Yes
3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $120.00
         Black Hills Natural Gas                                    Contingent
         PO Box 6006                                                Unliquidated
         Rapid City, SD 57709                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Natural Gas Utility
         Last 4 digits of account number 2
                                                                   Is the claim subject to offset?    No  Yes
3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $320.00
         Bluepeak Telephone                                         Contingent
         5100 S. Broadband Lane                                     Unliquidated
         Sioux Falls, SD 57108                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Telephone Service
         Last 4 digits of account number 3101
                                                                   Is the claim subject to offset?    No  Yes
3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $5,500.00
         BMI                                                        Contingent
         PO Box 630893                                              Unliquidated
         Cincinnati, OH 45263-0893                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Royalties
         Last 4 digits of account number 4437
                                                                   Is the claim subject to offset?    No  Yes




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3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $425.00
         City of Altus                                              Contingent
         509 S Main St                                              Unliquidated
         Altus, OK 73521                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Uitlity services
         Last 4 digits of account number 3000
                                                                   Is the claim subject to offset?    No  Yes
3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $120.00
         City of Hereford                                           Contingent
         PO Box 2277                                                Unliquidated
         Hereford, TX 79045-2277                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Uitlity services
         Last 4 digits of account number 1001
                                                                   Is the claim subject to offset?    No  Yes
3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $120.00
         City of Plainview                                          Contingent
         202 W 5th                                                  Unliquidated
         Plainview, TX 79072                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Uitlity services
         Last 4 digits of account number 3000
                                                                   Is the claim subject to offset?    No  Yes
3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $60.00
         City of Vernon                                             Contingent
         1725 Wilbarger St                                          Unliquidated
         Vernon, TX 76384-4741                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Uitlity services
         Last 4 digits of account number 5300
                                                                   Is the claim subject to offset?    No  Yes
3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $3,200.00
         Entergy Utiltiy                                            Contingent
         PO Box 8105                                                Unliquidated
         Baton Rouge, LA 70891-8105                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Electric Utility
         Last 4 digits of account number 0
                                                                   Is the claim subject to offset?    No  Yes
3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $775.00
         Excel Energy                                               Contingent
         PO Box 9477                                                Unliquidated
         Miniapolis, MN 55484-9477                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Electric Utility
         Last 4 digits of account number 0
                                                                   Is the claim subject to offset?    No  Yes
3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $68,000.00
         Federal Communications Com.                                Contingent
         45 L Street NE                                             Unliquidated
         Washington, DC 20554                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: FCC Broadcast Fees
         Last 4 digits of account number 0
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 3 of 7
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Debtor      High Plains Radio Network, LLC                                                  Case number (if known)            24-70089
            Name

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $31,000.00
         Global Music Rights                                        Contingent
         1801 W Olympic Blvd                                        Unliquidated
         Pasadena, CA 91199-2280                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Royalties
         Last 4 digits of account number 0340
                                                                   Is the claim subject to offset?    No  Yes
3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $4,000.00
         Global Music Rights                                        Contingent
         1801 W Olympic Blvd                                        Unliquidated
         Pasadena, CA 91199-2280                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Royalties
         Last 4 digits of account number 1653
                                                                   Is the claim subject to offset?    No  Yes
3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,200.00
         Global Music Rights                                        Contingent
         1801 W Olympic Blvd                                        Unliquidated
         Pasadena, CA 91199-2208                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Royalties
         Last 4 digits of account number 0034
                                                                   Is the claim subject to offset?    No  Yes
3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $125,000.00
         Hanszen LaPorte                                            Contingent
         14201 Memorial Dr                                          Unliquidated
         Houston, TX 77079                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Legal Services
         Last 4 digits of account number 5001
                                                                   Is the claim subject to offset?    No  Yes
3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $3,425.00
         Liberty Mutual Insurance                                   Contingent
         175 Berkeley St                                            Unliquidated
         Boston, MA 02116                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Com. Insurance
         Last 4 digits of account number 0307
                                                                   Is the claim subject to offset?    No  Yes
3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $47,000.00
         Litefund Solutions                                         Contingent
         99 Wall St #2613                                           Unliquidated
         New York, NY 10005                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Cash Operating Loans
         Last 4 digits of account number 1524
                                                                   Is the claim subject to offset?    No  Yes
3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $12,500.00
         Media Facilities                                           Contingent
         1740 Dell Range Blvd.#418                                  Unliquidated
         Cheyenne, WY 82009                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Office Leases
         Last 4 digits of account number 0
                                                                   Is the claim subject to offset?    No  Yes




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Debtor      High Plains Radio Network, LLC                                                  Case number (if known)            24-70089
            Name

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $600.00
         North Arkansas Electric                                    Contingent
         PO Box 1000                                                Unliquidated
         Salem, AR 72576-1000                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Electric Utility
         Last 4 digits of account number 0
                                                                   Is the claim subject to offset?    No  Yes
3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,230.00
         Optimum Telephone                                          Contingent
         1111 Stewart Ave.                                          Unliquidated
         Bethpage, NY 11714-3581                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Phone Service
         Last 4 digits of account number 0025
                                                                   Is the claim subject to offset?    No  Yes
3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $350.00
         SecureNet                                                  Contingent
         101 N Federal HWY Ste 601                                  Unliquidated
         Boca Raton, FL 33432                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Internet Feed Service
         Last 4 digits of account number 0
                                                                   Is the claim subject to offset?    No  Yes
3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $16,000.00
         SESAC                                                      Contingent
         PO Box 5246                                                Unliquidated
         New York, NY 10008-5246                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Royalties
         Last 4 digits of account number 6565
                                                                   Is the claim subject to offset?    No  Yes
3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $375.00
         SESAC                                                      Contingent
         PO Box 5246                                                Unliquidated
         New York, NY 10008-5246                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Royalties
         Last 4 digits of account number 6565
                                                                   Is the claim subject to offset?    No  Yes
3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $38,666.00
         Summit                                                     Contingent
         4680 Parkway Dr #300                                       Unliquidated
         Mason, OH 45040                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Broadcasting Equipment
         Last 4 digits of account number 4002
                                                                   Is the claim subject to offset?    No  Yes
3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $120.00
         Summit Natural Gas                                         Contingent
         PO Box 676358                                              Unliquidated
         Dallas, TX 75267-6357                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Gas Utility
         Last 4 digits of account number 2
                                                                   Is the claim subject to offset?    No  Yes




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3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $89,000.00
         The Fundworks                                              Contingent
         299 S. Main St. #1300                                      Unliquidated
         Salt Lake City, UT 84111                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Cash Operating Loans
         Last 4 digits of account number 0
                                                                   Is the claim subject to offset?    No  Yes
3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $17,500.00
         Turbo Capital                                              Contingent
         2308 N Market St                                           Unliquidated
         Wilmingtom, DE 19802                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Cash Operating Loans
         Last 4 digits of account number 0
                                                                   Is the claim subject to offset?    No  Yes
3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,600.00
         TXU Utiltiy                                                Contingent
         PO Box 650638                                              Unliquidated
         Dallas, TX 75265-0638                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Electric Utility
         Last 4 digits of account number 1
                                                                   Is the claim subject to offset?    No  Yes
3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $7,000.00
         United First LLC                                           Contingent
         2999 NE 191st St                                           Unliquidated
         Miami, FL 33180                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Cash Operating Loans
         Last 4 digits of account number 8211
                                                                   Is the claim subject to offset?    No  Yes
3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $75,000.00
         United Funding                                             Contingent
         1835 E Hollendate Beach BLVD
         Hollendale Beach, FL 33009
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number 0000                      Basis for the claim: MCA - cash advance

                                                                   Is the claim subject to offset?    No  Yes
3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,900.00
         Verison Cell Phone                                         Contingent
         PO Box 660108                                              Unliquidated
         Dallas, TX 75266-0108                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Cell Phone Service
         Last 4 digits of account number 6145
                                                                   Is the claim subject to offset?    No  Yes
3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $725,000.00
         Vertical Bridge                                            Contingent
         750 Park of Commerce Dr #200
         Boca Raton, FL 33487
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number 0                         Basis for the claim: Tower Leases -est./disputed settlement balance

                                                                   Is the claim subject to offset?  No       Yes




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Debtor       High Plains Radio Network, LLC                                                         Case number (if known)            24-70089
             Name

3.40      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $999,999.00
          Vertical Bridge                                                   Contingent
          750 Park of Commerce Dr #200
          Boca Raton, FL 33487
                                                                            Unliquidated
          Date(s) debt was incurred
                                                                            Disputed
          Last 4 digits of account number 0                                Basis for the claim: Tower Leases - est./disputed amounts outside of
                                                                           settlement, amont to be determined, 999,999 is placeholder only.
                                                                           Is the claim subject to offset?  No        Yes
3.41      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $4,650.00
          Zula Com                                                          Contingent
          PO Box 3649                                                       Unliquidated
          Palestine, TX 75801                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Tower Leases
          Last 4 digits of account number 0
                                                                           Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                             0.00
5b. Total claims from Part 2                                                                           5b.    +   $                     2,440,810.38

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                        2,440,810.38




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Fill in this information to identify the case:

Debtor name        High Plains Radio Network, LLC

United States Bankruptcy Court for the:      NORTHERN DISTRICT OF TEXAS

Case number (if known)      24-70089
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Tower lease - SEE
             lease is for and the nature of       ALSO, ADDENDUM
             the debtor's interest

                State the term remaining
                                                                                    City of Friona
             List the contract number of any                                        623 Main St
                   government contract                                              Friona, TX 79035


2.2.         State what the contract or           Tower lease - SEE
             lease is for and the nature of       ALSO, ADDENDUM
             the debtor's interest

                State the term remaining
                                                                                    D&D Telecommunications
             List the contract number of any                                        PO Box 6988
                   government contract                                              Abilene, TX 79608


2.3.         State what the contract or           Tower lease - SEE
             lease is for and the nature of       ALSO, ADDENDUM
             the debtor's interest

                State the term remaining
                                                                                    D&D Telecommunications
             List the contract number of any                                        PO Box 6988
                   government contract                                              Abilene, TX 79608


2.4.         State what the contract or           Tower lease - SEE
             lease is for and the nature of       ALSO, ADDENDUM
             the debtor's interest

                State the term remaining
                                                                                    Lift Systems
             List the contract number of any                                        PO Box 7233
                   government contract                                              Abilene, TX 79608




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 3
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Debtor 1 High Plains Radio Network, LLC                                          Case number (if known)   24-70089
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.5.      State what the contract or        Tower lease - SEE
          lease is for and the nature of    ALSO, ADDENDUM
          the debtor's interest

             State the term remaining
                                                                        Lift Systems
          List the contract number of any                               PO Box 7233
                government contract                                     Abilene, TX 79608


2.6.      State what the contract or        Office lease - SEE
          lease is for and the nature of    ALSO, ADDENDUM
          the debtor's interest

             State the term remaining
                                                                        M Properties
          List the contract number of any                               2627 West Road
                government contract                                     Mountain Home, AR 72653


2.7.      State what the contract or        Office lease - SEE
          lease is for and the nature of    ALSO, ADDENDUM
          the debtor's interest

             State the term remaining
                                                                        Media Facilities
          List the contract number of any                               1740 Dell Range Blvd #418
                government contract                                     Cheyenne, WY 82009


2.8.      State what the contract or        Office lease - SEE
          lease is for and the nature of    ALSO, ADDENDUM
          the debtor's interest

             State the term remaining
                                                                        Media Facilities
          List the contract number of any                               1740 Dell Range Blvd #418
                government contract                                     Cheyenne, WY 82009


2.9.      State what the contract or        Office lease - SEE
          lease is for and the nature of    ALSO, ADDENDUM
          the debtor's interest

             State the term remaining
                                                                        Media Facilities
          List the contract number of any                               1740 Dell Range Blvd #418
                government contract                                     Cheyenne, WY 82009




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                 Page 2 of 3
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Debtor 1 High Plains Radio Network, LLC                                              Case number (if known)   24-70089
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                               State the name and mailing address for all other parties with
                                                                         whom the debtor has an executory contract or unexpired
                                                                         lease

2.10.     State what the contract or        Office lease - SEE
          lease is for and the nature of    ALSO, ADDENDUM
          the debtor's interest

             State the term remaining
                                                                             Medial Facilities
          List the contract number of any                                    1740 Dell Range Blvd #418
                government contract                                          Cheyenne, WY 82009


2.11.     State what the contract or        Tower lease - SEE
          lease is for and the nature of    ALSO, ADDENDUM
          the debtor's interest

             State the term remaining
                                                                             South Plains Communications
          List the contract number of any                                    5811 34th St.
                government contract                                          Lubbock, TX 79407


2.12.     State what the contract or        Tower lease - SEE
          lease is for and the nature of    ALSO, ADDENDUM
          the debtor's interest

             State the term remaining
                                                                             Titan Tower
          List the contract number of any                                    PO Box 6972
                government contract                                          Abilene, TX 79608


2.13.     State what the contract or        Tower lease - SEE
          lease is for and the nature of    ALSO, ADDENDUM
          the debtor's interest

             State the term remaining
                                                                             Titan Tower
          List the contract number of any                                    PO Box 6972
                government contract                                          Abilene, TX 79608


2.14.     State what the contract or        Various tower leases,
          lease is for and the nature of    remaining not term'ed
          the debtor's interest             pre-bk, still in effect to
                                            be determined. - SEE
                                            ALSO, ADDENDUM
             State the term remaining
                                                                             Vertical Bridge
          List the contract number of any                                    750 Park of Commerce Dr #200
                government contract                                          Boca Raton, FL 33487




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                     Page 3 of 3
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Fill in this information to identify the case:

Debtor name      High Plains Radio Network, LLC

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF TEXAS

Case number (if known)   24-70089
                                                                                                                           Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:

   2.1    Monte Spearman                                                                       United Funding                  D
                                                                                                                                E/F        3.37
                                                                                                                               G



   2.2    Monte Spearman                                                                       The Fundworks                   D
                                                                                                                                E/F        3.33
                                                                                                                               G



   2.3    SEE SCHED. H.                                                                        Ailco                           D       2.1
          ADDENDUM                                                                                                              E/F
                                                                                                                               G



   2.4    SEE SCHED. H.                                                                        Amur                            D       2.5
          ADDENDUM                                                                                                              E/F
                                                                                                                               G



   2.5    SEE SCHED. H.                                                                        Balboa                          D       2.7
          ADDENDUM                                                                                                              E/F
                                                                                                                               G



Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 2
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Debtor    High Plains Radio Network, LLC                                          Case number (if known)   24-70089


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     SEE SCHED. H.                                                                Crest Capitol                  D      2.9
          ADDENDUM                                                                                                     E/F
                                                                                                                      G



  2.7     SEE SCHED. H.                                                                Marlin - Peak Com.             D      2.14
          ADDENDUM                                                                                                     E/F
                                                                                                                      G



  2.8     SEE SCHED. H.                                                                Meridian                       D      2.15
          ADDENDUM                                                                                                     E/F
                                                                                                                      G



  2.9     SEE SCHED. H.                                                                New Lane Fin. B-M              D      2.17
          ADDENDUM                                                                                                     E/F
                                                                                                                      G



  2.10    SEE SCHED. H.                                                                Pawnee                         D      2.18
          ADDENDUM                                                                                                     E/F
                                                                                                                      G




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             SUPPLEMENT TO AB 50 - EQUIPMENT
          HIGH PLAINS RADIO NETWORK, LLC
          SCHEDULE OF BROADCASTING EQUIPMENT
  Loc                              Location
   #                               Address
  TX-1   Near Hwy 70 & 84, off of County Rd. 5, Lariat, TX 79325
                 KICA AM and KICA FM Transmitter Site
  TX-2         Near Hwy 2397 & 2013, Friona, TX 79035
                  KGRW - KKNM - KKYC Transmitter Site
  TX-3             2651 County Road 191, Littlefield, TX
              Littlefield studios, offices & KZZN-AM xmitter
  TX-4                3218 N Quincy St, Plainview, TX
             Plainview studios, offices & KREW transmitter
  TX-5           NW Pt Survey #33 Blk D-7, Plainview, TX
                          KVOP-AM transmitter site
  TX-6         2300-2398 Co Rd 40, Plainview, TX 79072
                   KKYN-FM & KRIA-FM transmitter site
  TX-7           8101 Southeast Dr, Lubbock, Tx. 79404
                         KDAV AM Transmitter Site
  TX-8                  7601 FM 2636, Malakoff, TX
                          KCKL-FM transmitter site
  TX-9                     446FM 753, Athens, TX
                          KLVQ-AM transmitter site
 TX-10             302 Wilbarger St, Vernon, TX 76384
                            (KVWC AM/FM Site)
 OK-1                     808 N. Main St Altus, OK
                     Altus stations studios and offices
 OK-2                   E1550 Rd, Duke, OK 73532
                          KEYB-FM transmitter site
 OK-3                   E1660 Rd, Hollis, OK 73550
                      KKRE- KJOK FM transmitter site
 OK-4                 207 W. Grand St. Frederick, OK
OK-4-S    Frederick stations studios & offices & Equip. Storage
 OK-5                   N2085 Rd. Elmer, OK 73539
                          KYBE-FM transmitter site
 OK-6               22094 OK-5, Frederick, OK 73542
                          KTAT-AM transmitter site
  AR-1              223 Russell Street, Mtn Home, AR
                   Mtn Home stations studios & offices
  AR-2               5519 County Road 74, Calico, AR
                          KJMT-FM transmitter site
  AR-3              3611-4819 Liberty Road, Viola, AR
                          KCMC-FM transmitter site
  AR-4            436-444 Green Mtn Dr., Mtn Home, AR
                          KRZP-FM transmitter site
  AR-5                   1360 Radio Rd, Helena, AR
               KFFA AM/FM studios, offices & transmitters
  AR-6                         Rural Location
                                  KYXK FM
  AR-7                         Rural Location
                                  KWPS FM
  AR-8                         Rural Location
                               KAFN AM AMX
 AR9-2                         Rural Location
                               KZYP AM AMX
 AR-10                         Rural Location
                                  KDEL FM
 AR-11                         Rural Location
                                  KVRC AM
 AR-12                             Studios
                                 Benton AR
 MS-1                 1383 Pickett St., Greenville, MS
              WDMS, WGVM studios, offices & transmitters
  CO-1         277775 County Road 321, Buena Vista, CO
                          KSKE-AM transmitter site




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            SUPPLEMENT TO AB 50 - EQUIPMENT

 Altus OK - Office - Studios - Engineering - Audio & Video         Count
 Arrakis Computer / system                                           3
 Desktop computer                                                   10
 XDS-Pro Satelite receiver                                           1
 XDS-Pro 4Q Satelite receiver                                        1
 Burk ARC-16 Remote Control unit                                     1
 Dayton Industrial Receiver Model AF200                              1
 Wegener Ipump 6420 Audiio Server                                    1
 PI-963 Program Interruption Switch                                  1
 Sage Digital ENDEC                                                  1
 NiCom STL Transmitter TSL 910                                       1
 TFT stl Transmitter                                                 1
 DEVA Broadcast Audio Processor                                      1
 Orban Model 8500FM                                                  1
 Arrakis ARC-8 Board                                                 2
 David 4 Audio Processor                                             1
 Microphones                                                         8
 Barix Box                                                           2
 Henry Auto Switches                                                 2
 CSI FM Tuner                                                        2
 Remote Equipment System                                             3
 Headphones                                                          8
 Various Video Equipment                                             1
 Standard TVM 450                                                    1
 Mackie DFX6 Studio Board                                            1
 DX Antenna Widband TV Modulator DSM-220                             1
 HP ProLaint DL380P Gen8                                             1
 All HVAC Systems                                                    2
 60' American Tower                                                  1
 9' Satellite Dish Receiver                                          1
 Coverage Media System 3550 M4                                       1
 FM1 - Altus, OK                                                   Count
 Contenental Electrics Transmitter                                   1
 HVAC Unit                                                           1
 RVR RXRL-LCD                                                        1
 NiCom Stl Receiver RSL 900                                          1
 TFT Stl Receiver                                                    1
 NiCom STL Transmitter TSL-910                                       2
 Burk ARC-16 Remote Control unit                                     1
 FM Antenna Bays @ $3600                                             8
 FM Feed Line @ $42 per foot                                        480
 Bext Fx1000 Broadcast Amplifier                                     1
 Backup Generator                                                    1
 FM2 & FM3 - Altus, OK                                             Count
 QEI FMQ-3500                                                        1
 QEI Transparent Plus 695 FM Exciter                                 1
 QEI Type 675 FM Exciter                                             1
 Contenntal Electronics 816R-4                                       1
 NiCon STL Receiver RSL 900                                          2
QNetgear Router                                                      1
 FM Antenna Bays @ $3600                                             8
 FM Feed Line @ $42 per foot                                        330
 FM Antenna Bays @ $3600                                            12
 FM Feed Line @ $42 per foot                                        380
 HVAC UNIT                                                           2

 Altus - Equipment Storage                                         Count
 Nautel NV15 Being rebuilt by EFI, Amarillo TX                       1
 QEI FMQ-10000 Being rebuilt by EFI, Amarillo TX                     1
 Harris SX-1 Transmitter (AM From Athens)                            1
 2 Commercial AC Units (Furnaces are in Frederick)                   2
 20 Plus Computers HP /Compac / Dell                                20
 Adtec DUET MPEG2 Commercial Inserter                               21
 Adtec SOLOIST Broadcast MPEG2 Player                                2
 Various Wires and Cords                                             1




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            SUPPLEMENT TO AB 50 - EQUIPMENT

 FREDERICK OK - Office - Studios - Engineering             Count
 Desktop Coputer                                             5
 Pyle PT 504 Radio Tuner                                     1
 XENYX Q80 Board                                             1
 Arrakis ARC-8 BLUE Audio Board                              1
 Arrakis Automation Docking Station                          2
 XDS Pro4Q Satelite Reciever                                 2
 XDS PRO Satelite Reciever                                   1
 Netgear ProSafe 24 Port Switch                              1
 Sage Digital ENDEC                                          1
 Dayton Weather Monitor                                      1
 Dayton FM Monitor                                           1
 Wegener Audio server                                        1
 Makie DFX 6 Audio board                                     1
 Arrakis ARC-8 Audio Board                                   1
 TFT Inc STL Transmitter                                     1
 RDS VC-02 DSP Encoder                                       1
 ORBAN Optimod-fm Model 8100A                                1
 Pro FX12 Board                                              1
 JK Audio Inline Patch Phone Interface                       1
 ROLLS Live Mix MX34C                                        1
 9' Satellite Dish Receiver                                  1
 Remote Equipment System                                     2
 All HVAC Systems                                            1
 Comrex Bric Link                                            1
 Marti Model Stl-10                                          1
 Inovonics AM Audio Processor Model 222                      1
 microphone                                                  6
 Headphones                                                  6
 CROWN XLS1000 Power Amplifieer                              1
 FREDERICK OK - FM Broadcast Site                          Count
 Harris HT 5CD Transmitter                                   1
 ComPac2 HvAC units                                          2
 Circuit Werkes Sicon-8 Remote Controller                    1
 Marti STL Receiver SR-20C                                   1
 Optimod FM Orban 8100A                                      1
EEnerg y Onix backup transmitter ECO-25                      1
 Harris 10Watt exiter                                        1
 Burk ARC-16 Remote Control unit                             1
 FM Antenna Bays Back-Up @ $3600                             6
 FM Feed Line @ $42 per foot                                340
 FREDERICK OK - AM Broadcast Site                          Count
 BE AM 500A Transmitter                                      1
 Nicom STL Reeceiver Model RSL900                            1
 Sine RP-8 Relay Panel                                       1
 Qei Type 675 FM Exciter                                     1
 Burk ARC-16 Remote Control unit                             1
 HVAC UNIT                                                   1
 FM Antenna Bays Back-Up @ $600                              6
 FM Feed Line @ $42 per foot                                165



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             SUPPLEMENT TO AB 50 - EQUIPMENT
 Storage Warehouse - Shelf 1                            Count
 Yamaha AV Receiver RX-V530                               1
 Cabinet Speakers                                         6
 SinClair Res-lok Duplex Model Q4220E*1 948993-1-1        1
 ICP DCR-974 Digiceiver                                   1
 Broadcast Tools 8x2 Dual Stereo Switcher                 3
 Broadcast Tools 8x2 SS 16.4 Stereo Switcher              3
 Smart Touch                                              3
 RIDZ Switcher                                            2
 Smart Caster Systems                                     8
 Enco Automation System                                   8
 Battery USB Power Strips                                 5
 Desktop CPU                                              4

 Storage Warehouse - Shelf 2                            Count
 Studio CD Players (Sony, Teac)                           8
 Dual Tape Decks (Sony, Teac)                             6
 Technics Record Players                                  2
 Belar FM Monitor                                         1
 Potomac Instruments Audio Analyzer AA-51 Ser. 24491      1
 KAHN Commercial Incorporated Monitor                     1
 Desktop CPU                                             15
 TFT Model 8600 STL Transmitter                           1
 Storage Warehouse - Shelf 3                            Count
 Audio Science BOB 1024 Breakout Box                      1
 SuperFlex Pro Audio DVB-S DVB-S2                         1
 Marti RPT 30 Series Remote Pickup Transmitter            1
 Burke IP-8                                               1
 Audio Metrics Amp                                        1
 Symetrix TI-101 Phone Interface                          1
 Broadcast tools 8.2 Plus Audio Switcher                  2
 Broadcast tools 4.4 Stereo Matrix Switcher               1
 Star Guide 3 Satelite Receiver                           1
 AEQ Eagle Dual Channel Audio Codec                       1
 Broadcast Electronis ss-6 Satelite Switcher              1
 Alesis Multi Mix 8 Line                                  1
 Marti Stl Series transmitter                             1
 Wegener Communications DR 96 Digital Audio Recvr         1
 Wegener Communications DR 185 Digital Audio Recvr        1
 Wegener Communications Unity 4000 MPEG-2 IRD             1
 Symetrix A-220 Amp                                       1
 Rodix IDA-1600 Distribution Amp                          1
 VC02 DSP Encoder Via Radio                               1
 Broadcast Tools 8x2 Switcher                             1
 Stanton C-500 CD Player                                  1
 Space Com Stystems M2000AP Data Receiver                 1
 Burk ARC-16 Remote Control                               1
 Sentry Systems AIR Sentry                                1
 KAHN Comm AM-Stereo Exciter                              1
 Marti RPT-15 Remote Trans                                1
 Marti STL-15C Transmitter                                1
 Realistic MPA-25 AMP                                     1
 Stant C402 Rack Mount CD Player                          1
 International Datacasting Flex Route Audio Processor     1
 Advanced Micro Dynamics TC-8 Remote Control              1
 Star Guide 3 Satelite Receiver                           1
 Symetrix TI-101 Phone Interface                          1
 International Datacasting 4/16 Controller                1
 TFT 884 RM modulation and Stereo Monitor                 1
 Quintech LS Dual L-Band Splitter                         1
 Kahn Power Slide Clear                                   1
 Storage Warehouse - Shelf 4                            Count
 Flat Screen Monitors Various Brands 13-17 inch          16
 Harris CD Link                                           1
 AutoGram "Pacemaker" Board                               1
 4 USB Battery Backups                                    1
 Burk ARC-16 Remote Control                               1
 Mackie ONYX 1640 Board                                   1
 Back Up Tubes                                           12
 LPB Board                                                1
 Baver Board                                              1
 Wegener SMNI1-Fm                                         1
 Transmitter Replacement Boards                           6
 Large Board w/pots, Disassmebled Parts                   1
 Storage Warehouse - Shelf 5                            Count
 Boxes of Various wires and power cords                   9
 Monitors with cables                                     3
 AutoGram Control Board                                   1
 Storage Warehouse - Shelf 6                            Count
 Desktop CPU                                             13
 Boxes of Various wires and power cords                   2
 Storage Warehouse - Pallets                            Count
 Boxes of Various wires and power cords                  12
 Printers                                                 2
 Orban-Optimod FM                                         1
 Storage Warehouse - East Wall                           Count
 Equipment Racks Various Sizes                             10
 Large Spool of Coax 1 1/8"                               120
 4 STL Antenna                                             4
 Copper Cooling Pipes for Transmitter Connections       Various
 Fittings for Copper pipe                               Various
 Large Spool of Coax 5/8"                                 140
 Multiple Spools of Wire / Multi Strand not Coax        Various
 Storage Warehouse - South Wall                         Count
 4 FM Antenna Bays 98.3                                   4
 Pro FX 12 Board                                          1
 Yamaho MG124c Board                                      1
 Eurorack MX 2004A                                        1
 2 Furnace Units (Ac units are in Altus)                  2




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       SUPPLEMENT TO AB 50 - EQUIPMENT

  Buena Vista CO - AM - Broadcast Site          Count
  Autogram Mini Mix 12a Board                     1
  Getner phone System                             1
  Behringer ExtraGain Pro                         1
  Desktop computer                                2
  RadioShack 40 P.A. Amplifier                    1
  Pre Sonus Bluetube V2                           1
  BE AM 1A AM Transmitter                         1
  Sine System RP-8 Remote controller              1
  Inovonics Audio Processor model 222             1
  Sage Digital ENDEC                              1
  Ridz Switcher                                   1
  Arrakis Automation System                       1
  Barix Box                                       1
  Microphone                                      3
  Remote Equipment System                         1




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        SUPPLEMENT TO AB 50 - EQUIPMENT
 FRIONA TX - Broadcast Site Equipment Building       Count
 Bard Wall Mount AC Units                              4
 Coax Spool - Back-Up - @ $42 Ft.                     220
 FM Bays - 95.7 @ $3600                                8
 FRIONA TX - FM #1                                   Count
 Orban Model 8500FM Model 9100A Processor               1
 Harris Trans FM35K MPS100205-00002                     1
 FM Antenna Bays @ $3600                               12
 FM Feed Line @ $42 Ft.                               385
 Sine System Model RP-8 Relay Panel                     1
 Various Electronic Equipment                         All
 FRIONA TX - FM #2                                   Count
 Bird RF Monitor Model 3171A                            1
 TFT Stereo Monitor Model 88A Serial # 1391489          1
 Circuit Werkes Sicon 8 RS-232                          1
 Barix Box                                              2
 Verizon Internet Box                                   1
 Continental Transmitter Serial # 368 - Nautel          1
 Omnia One 2001-0220-000                                1
 Desktop Computer with Audio                            1
 Bird RF monitor Model 3171A                            1
 TFT Stereo Monitor Model 884 Serial # 1451645          1
 FM Antenna Bays @ $3600                               10
 FM Feed Line @ $42 Ft.                               365
 Various Electronic Equipment                         All
 Remote Equipment System                                2
 Omnia 1 FM 2001-0220-000                               1
 Harris Remote / Multimeter                             1




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            SUPPLEMENT TO AB 50 - EQUIPMENT
 LARIAT TX - FM Broadcast Equipment                            Count
 Nautel NV25 Transmitter (stored - Repaired - D Jones)           1
 Nautel NV25 Transmitter (stored)                                1
 LARIAT TX - AM Broadcast Equipment                            Count
 Harris Gates 2 Transmitter Ser# MP01996000002                   1
 CRL Systems Am Stereo Processor SMP-900                         1
 Sine Systems RP-8 Relay / Remote                                1
 Barix Bricks Transiver Boxes @ $900                             2
 Verizon Box                                                     2
 Desktop Computer with Audio                                     2




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        SUPPLEMENT TO AB 50 - EQUIPMENT

  HEREFORD TX - Broadcast Site Equipment Building      Count
  RVR Transmitter Model PJ10KPS-CA                       1
  Barix Box                                              1
  Orban 2000 Model 2200/v                                1
  Desktop Computer with Audio                            1
  FM Antenna Bays @ $3600                               10
  FM Feed Line @ $42 Ft.                                385
  HEREFORD TX - On-Air Studio Equipment                Count
  Yamaha Board MG12XV                                    1
  Desktop Computers with Audio                           2
  Microphones / Headsets                                 4
  Henry U.S.D.A. 2x4 amplifier                           1
  Microphones                                            4
  Barix Boxes                                            3
  Comrex Bric Link                                       1
  Hafler TA 1600                                         1
  Netgear 16 port switch                                 1
  SmartCaster Automation System                          1
  Ridz Switcher                                          1
  Smart touch                                            1
  Sony dual CD Player                                    1
  Sage Digital ENDEC EAS Receiver                        1
  Rollz Synthesized Tuner                                1
  HEREFORD TX - Production Studio Equipment            Count
  Desktop Computers with Audio                           2
  Henry U.S.D.A. 2x4 amplifier                           1
  Harris ProCast Board                                   1
  Sine Systems RP-8 Relay Panel                          1
  Harris ProCast Board                                   1
  Hafler TA 1600                                         1
  Alesis Multimix 8 USB FX                               1
  Remote Equipment System                                2
  Microphone / Headset                                   3




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       SUPPLEMENT TO AB 50 - EQUIPMENT
 LITTLEFIELD TX - AM Office Studios                    Count
 Yamaha MG124C                                           1
 Getner phone System DH20                                1
 Behringer AMP MIC2200                                   1
 Desktop Computer with Audio                             3
 Pre Sonus Bluetube V2                                   1
 Microphone / Headset                                    4
 Ridz Switcher                                           1
 SmartCaster Automation System                           1
 Barix Box                                               1
 BE AM 1A AM Transmitter                                 1
 Sine System RP-8 Remote Control with Sensor             1
 Inovonics Audio Processor model 222                     1
 9' Satellite Dish Receiver                              1
 AM Feed Line @ $22 per foot                            425
 Carrier AC units                                        1
 Remote Equipment System                                 2
 RadioShack 40 P.A. Amplifier                            1
 Autogram Mini Mix 12a Board                             1
 Remote Equipment System                                 1
 Sage Digital ENDEC                                      1




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        SUPPLEMENT TO AB 50 - EQUIPMENT
 LUBBOCK TX - AM Broadcast Equipment                  Count
 Harris Gates One Transmitter                           1
 AM 3 Tower Diplex Unit                                 1
 Delta Electronics 81M-1                                1
 Equipment Racks                                        2
 Symetrix Stero Leveler Model 422                       1
 Potomac Instruments Antenna Monitor #1294              1
 Inovonics Processor Model 222 Serial 124D              1
 Comrex Bric Link                                       1
 Verizon Internet Box                                   1
 AM Feed Line @ $22 per foot                           700
 Rheem AC unit (to replace)                             1
 Shure Pro Microphone Mixer                             1
 Desktop Computer with Audio                            1




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        SUPPLEMENT TO AB 50 - EQUIPMENT

 PLAINVIEW TX - Office & Broadcast Equipment      Count
 Harris Dax-1 Transmitter                           1
 AM Feed Line @ $22 per foot                       425
 All HVAC Systems                                   3
 9' Satellite Dish Receiver                         3
 Studio 1                                         Count
 Desktop Computer with Audio                        3
 Arrakis ARC-8 Board                                1
 Numark MP102                                       1
 Alesis RA 150 amp                                  1
 Microphone / Headset                               3

 Studio 2                                         Count
 Arrakis ARC-15 Board                               1
 Microphone / Headset                               5
 Desktop Computer with Audio                        2
 Telos KXI Phone System                             1
 Shure Microphone mixer                             1

 Studio 3                                         Count
 Desktop Computer with Audio                        2
 Audio Arts Board AIR4                              1
 Microphone / Headsets                              2

 Engineering Room & Equipment Storage             Count
 Arrakis Docking Unit                               3
 Desktop computer (arrakis)                         5
 Barix Box                                          2
 Henry Engineering AUTO Switch                      2
 Technical Pro PS9U Power supply                    5
 Comrex Bric Link                                   2
 Belar AM Modulation Monitor                        1
 HNAT Hindes nc TXL-110                             1
 Wegener Pro Audo Server                            1
 XDSS-Pro4R Satelite reciever                       8
 Marti STL Transmitter                              2
 Rolls Digital Tuner                                1
 Inovonics FM Modulation Analyzer Model 500         2
 RR-962-W Weather reciever                          1
 Sage Didgital ENDEC                                2
 APHEX model 320A COMPELLOR                         1
 Remote Equipment System                            6
 Sine Systems RP-8 Relay Panal                      1
 Behringer Board                                    3
 Behringer Board PMP4000                            1
 Getner Mod Meter                                   1
 Yamaha MG124c board                                1
 Ridz Switcher                                      3
 Broadcast tools 5516.4Stereo Switcher              1
 Enco Desktop Computer                              1
 Belar AM Modulation Monitor                        1
 AURAL STL Transmitter                              1
 4 Foot Equipment Racks                             6
 AURAL STL Transmitter                              1
 RR-962-W Weather reciever                          1
 APHEX model 320A COMPELLOR                         1
 Engineering Various Supply Parts & Equip.         All

 FM 1 & 2 Transmitter Site                       Quantity
 Harris FM 25K      85-8593-012                     1
 PTEK Fm 500 ES                                     1
 Inovonics David IV Fm Processor                    1
 Orban 8500 FM Digital Audio Processor              1
 QEI transmitter - Parts                            1
 QEI FMQ-10000 Fm Transmitter T10kw072              1
 QEI 675B Fm Exciter                                1
 Orban 2200 Processor 744136-015KH                  1
 Sine Systems RP-8 Relay Panal                      2
 Carrier AC unit                                    2
 FM Antenna Bays @ $3600                            8
 FM Feed Line @ $42 per foot                       380
 FM Antenna Bays @ $3600                            12
 FM Feed Line @ $42 per foot                       420

 AM Transmitter Site                             Quantity
 Harris SX-5A Transmitter                           1
 Marti Model R-10 STL Receiver                      1
 Sine Systems RP-8 Relay Panal                      2
 Rheem AC unit                                      1
 AM Feed Line @ $22 per foot                       840
 AM 4 Tower Diplex Unit                             1



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        SUPPLEMENT TO AB 50 - EQUIPMENT

  VERNON TX - Office & Studios & Equipment      Count
  Autogram Mini Mix 12a Board                     1
  Desktop or Laptop computer @ $800               4
  Sine System RP-8 Remote controller              1
  Inovonics Audio Processor model 222             1
  Sage Digital ENDEC                              1
  Ridz Switcher                                   1
  Arrakis Automation System                       1
  Microphone and Headsets @ $400                  6
  Remote Equipment Broadcast System               1
  Satellite Dish Systems @ $4800                  2
  FM Antenna Bays @ $3600                         4
  FM Coax Feed Line @ $42 Ft.                    240
  General Office Fixtures                        All
  Studio Speakers @ $125                          6
  CD Players @ $325                               4
  10 Slider Console                               1
  Microphones Various @ $185                      6
  Rack Switchers                                  1
  Satellite Recievers @ $1325                     2
  Equipment Racks @ $350                          7
  Sage Digital Endec for EAS                      1
  Battery Backup Surge @ $125                     3
  Marti Reciever                                  1
  Telos Unit                                      1
  LB Monogram M5M                                 1
  Mic Mixermodel                                  1
  Mic Stands @ $30                                4
  AM BC1G Transmitter                             1
  Gates Mod Meter                                 1
  Mod BELAR FMS                                   1
  Orban Optimod                                   1
  McMartin FM Exciter                             1
  Bird Watt Meter                                 1
  Transmitter Exciter                             1
  SHUR Mic Mixer                                  1
  Sherwood Am/FM Tuner                            1
  Communication Server                            1
  30 WATT FM Exciter                              1
  Frequency Tester                                1
  Modulation Monitor                              1
  RF Sugnal Generator @ $85                       2
  Bauer Exciter                                   1
  Audio Generator                                 1
  Marti 25W Transmitter                           1
  Yagi Attennas @ $235                            3
  Marti Base Atenna                               1
  Drain Choke Box                                 1


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        SUPPLEMENT TO AB 50 - EQUIPMENT

 FM Studio Equipment                               Count
 Radio Systems Millenium Board                       1
 Radio systems DA-16 amplifier                       1
 Desktop computer with Audio                         2
 Denon Rack Mount CD Players                         2
 Taskam Tu-690 Radio                                 1
 Dorrough Loudness Monitor                           1
 DBX 286A Mic Processors                             2
 Samson S-Phone Headphone amp                        1
 Symetrix TI-101 Phone interface                     1
 Desktop computer (Arrakis)                          1
 Microphones                                         3
 Central Air conditioning System                     1
 Remote Equipment System                             2
 Sage Didgital ENDEC                                 1
 Airtools 6000 Broadcast audio delay                 1
 Broadcast tools SS 2.1 Stereo Switcher              1
 Broadcast Tools SS 8.2 Dual Stereo Switcher         1
 Compressor PRG-XL                                   1
 9' Satellite Dish Receiver                          3
 Headphones                                          3
 Radio Systems Millenium Board                       1
 Denon CD/MP3 Player                                 2
 Desktop computer with Audio                         2
 DBX 286A Mic Processors                             2
 Samson S-Phone Headphone amp                        1
 Dorrough Loudness Monitor                           1
 Broadcast Tools SS 8.2 Dual Stereo Switcher         1
 Radio systems DA-16 amplifier                       1
 Taskam Tu-690 Radio                                 1
 Microphones                                         2
 Headphones                                          2
 Central Air conditioning System                     1
 RCA Tape deck                                       1
 Production Equipment                              Count
 Tascam Tu-690                                       1
 Dorrough Loudness Monitor                           1
 RadioSystems DA-16 Amplifier                        1
 Broadcast Tools SS 4.2 Dual Stereo Switcher         1
 Optimus Tape Deck                                   1
 Dennon DC Mp3 Player                                1
 Mackie ONYX 1640 Board                              1
 Microphone / Headset                                1
 Engineering Equipment                             Count
 Wegener Audio Server                                1
 XDS Pro Satelite Receivers                          2
 Desktop Coputer with Audio                          2
 Arrakis Automation Docking Station                  2
 Henry Engineering Auto Switch                       2
 Barix Box                                           1
 Hano AMP MX101
 Malakoff TX - FM Broadcast Equipment              Count
 Harris ZXX 3500 Transmitter                         1
 Harris FlexStar KDX-Fm High Def Radio               1
 Marti Model R-10 Reciever                           1
 Marti RPT series Remote pickup Transmitter          1
 Omnia Processor                                     1
 DRV DVS Security System Server                      1
 Burk ARCSolo Remote Control                         1
 Delco A.C. Generator Model 3E5398                   1
 FM Antenna Bays @ $3600                             6
 FM Feed Line @ $42 per foot                        385
 Central Air conditioning System                     1
 Athes TX - AM Broadcast Equipment                 Count
 Harris SX-1 transmitter                             1
 Optimod-Fm Model 8100a                              1
 Bext XT300 Fm Exciter                               1
 ine System RP-8 Remote Controller                   1
 Intelligent rack apdapter Model RAK-1               1
 Marti R-10 Aural STL Receiver                       1
 Optimod-AM Model 9100B                              1
 Harris DAX-1                                        1
 Window Unit AC                                      2




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           SUPPLEMENT TO AB 50 - EQUIPMENT
 HERLENA AR - Office - Studios & Engineering                   Count
 Harris HT FM Transmitter (backup)                               1
 Harris SX-1A AM Transmitter                                     1
 Nautel NV5LT FM Transmitter                                     1
 Henry Electric AutoSwitch                                       2
 Desktop Computer with Audio                                     6
 Orban Optimod 9200 FM Processor                                 1
 Pyramid EAS Tuner                                               1
 TP-Link TL-SG1024 24 port switch                                1
 Barix Box                                                       2
 NiCom FM transmitter mod.NT30                                   1
 Wegener Audio Server                                            1
 XDS-PRO4Q                                                       1
 XDS PRO1 MEDIA                                                  1
 XDS -PRO1                                                       1
 Sine Systems Remote RFC-1/B                                     1
 Sine Systems Model RP-8 Panel                                   1
 Sage Digital Endec                                              1
 Multicomm Pro-XL MDX4600 Processor                              1
 Arrakis Docking Stations                                        2
 Microphones                                                     6
 headphones                                                      6
 Desktop Computer with Audio                                     3
 Yamaha Board MG12XU                                             1
 Broadcast Tools Dual Stereo Audio Switcher                      1
 Pyle PT 504 Tuner                                               3
 Radio Systems INC TI-101                                        1
 Arrakis Systems ARC-8 Board                                     2
 JK Audio Phone interface                                        1
 Behringer Mini Amp                                              1
 Technics SL-PG480a CD Player                                    2
 Remote Equipment System                                         2
 AM Feed Line @ $22 per foot                                    425
 All HVAC Systems                                                1
 9' Satellite Dish Receiver                                      3
 FM Antenna Bays @ $3600                                        12
 Belar FM Amplifier                                              1
 AM Feed Line @ $42 per foot                                    620
 Exstreamer 500 FM Tuner                                         1
 Optimus Dual Tape deck                                          2




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        SUPPLEMENT TO AB 50 - EQUIPMENT
   Mountain Home, AR - Office & Studios          Count
  Microphone                                       6
  Headphones                                       6
  Desktop Computer with Audio                      7
  Arrakis Automation Docking Station               3
  Allen and Heath XB14 2 Board                     1
  Innkeeper 2 Digital hybrid                       1
  Arrakis 1200-10S Board                           1
  XDS-PRO DVB                                      2
  Ipump 6420 Audio Server                          1
  Sage Digital ENDEC                               1
  TFT EAS 940A                                     1
  Behringer PRO-XL Processer MOX4600               1
  Digigram Pyko                                    1
  Barix Boxes                                      1
  Technics ST-F460 Stereo Tuner                    1
  Remote Equipment System                          1
  All HVAC Systems                                 1
  9' Satellite Dish Receiver                       1
  Yagi Antennas                                    2
  FM #1                                          Count
  Deva Broadcast Model D864-fm Processor           1
  Andrew MR050                                     1
  BE FM 5C Transmitter                             1
  Barix Boxes                                      1
  Sine System Model RP-8 Relay Panel               1
  Sine System RFC-1/8 Remote Controller            1
  HVAC Unit                                        1
  FM Antenna Bays @ $3600                          6
  FM Feed Line @ $42 per foot                     280
  FM #2                                          Count
  HVAC Unit                                        1
  BE FM 10S Transmitter                            1
  Broadcast Electronics FX50 Exciter               1
  Optimod FM 8200 Processor                        1
  Desktop Computer with Audio                      1
  Barix Boxes                                      1
  FM Antenna Bays @ $3600                          6
  FM Feed Line @ $42 per foot                     385
  FM #1                                          Count
  Nautel VS2.5 Transmitter                         1
  HVAC Unit                                        1
  Netgear GS108 Switch                             1
  Cyber Power Backup                               1
  Harris Gates One Transmitter (back-up)           1
  Barix Boxes                                      1
  FM Antenna Bays @ $3600                          6
  FM Feed Line @ $42 per foot                     385


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        SUPPLEMENT TO AB 50 - EQUIPMENT

  BENTON, AR - Office & Studios & Equipment    Count
  Microphone                                     5
  Headphones                                     5
  Desktop Computer                               5
  Arrakis Automation Docking Station             1
  Audioarts Engineering R-55 Board               1
  Tripp Lite                                     1
  Audio metrics                                  2
  Jones 16420 Receiver                           1
  Barix Boxes                                    4
  Tp Link 24 port Switch                         1
  MT-VIKI 8 port                                 1
  Omnia.9                                        1
  Sage Digital ENDEC                             1
  Audioarts Engineering R-5 Board                1
  Commander G3 TLR                               1
  Gentner Phone Hybrid SPH-3A                    1
  TFT Inc STL Transmitter                        1
  Marti Model Stl-10                             1
  Remote Equipment System                        4
  AM & FMX - Benton, AR.                       Count
  Marti Modle R-10 STL Receiver                  1
  Optimod-AM Orban Model 9100A                   1
  Nautel VS1                                     1
  Sine System Model RP-8 Relay Panel             1
  Harris Gates One Transmitter                   1
  HVAC Unit                                      1
  FM Antenna Bays @ $3600                        6
  FM Feed Line @ $22 per foot X 385'             1
  HVAC Systems @ $4800                           1
  AM & FMX - Malvern, AR                       Count
  Rolls Tuner RS 80                              1
  Inovonics Model 222 AM Processor               1
  Sine System Model RP-8 Relay Panel             1
  Bext FM Exciter XT300                          1
  Barix Boxes                                    1
  BE AM1A Transmitter                            1
  FM Antenna Bays @ $3600                        6
  FM Feed Line @ $42 per foot                   385
  HVAC Systems @ $4800                           1
  AM & FM - Arkadelphia, AR                    Count
  Barix Boxes                                    1
  Desktop Computer                               1
  Orban Optimod Model 8100a                      1
  Harris Reciever CDL                            1
  Nautel VS 2.5 Transmitter                      1
  Broadcast Electronics AM 1A Transmitter        1
  Optimod-AM Orban Model 9100A                   1
  FM Antenna Bays @ $3600                        6
  FM Feed Line @ $42 per foot                   328
  HVAC Systems @ $4800                           1
  FM - Bismark, AR                             Count
  HVAC Systems @ $4800                           1
  Nautel VS1                                     1
  Barix Boxes                                    1
  Andrew Dehydrator System                       1
  Desktop Computer                               1
  FM Antenna Bays @ $3600                        6
  FM Feed Line @ $42 per foot                   288
  HVAC Systems @ $4800                           1
  FM - Gurdon, , AR                            Count
  Harris HT 7CD Transmitter                      1
  Orban 2200 Optimod Fm Processor                1
  Barix Boxes                                    1
  Desktop Computer                               1
  RFS Cablewave System                           1
  FM Antenna Bays @ $3600                        8
  FM Feed Line @ $42 per foot                   460
  HVAC Systems @ $4800                           1




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           SUPPLEMENT TO AB 50 - EQUIPMENT
 GREENVILLE MS - Office & Studios & Engineering            Count
 Audioarts Engineeering R-60 Board                           1
 APS Back-UPS XS1000                                         1
 Desktop computer with Audio                                 3
 Stanton c.500 Dual rack mount CD Player                     1
 Headphones                                                  6
 Remote Equipment System                                     2
 Microphones                                                 6
 AM Feed Line @ $28 per foot                                425
 AM Feed Line @ $42 per foot                                655
 All HVAC Systems                                            1
 9' Satellite Dish Receiver                                  2
 FM Antenna Bays @ $3600                                    12
 Optimus sa-155 Stereo Amplifier                             1
 Symetrix 528E Voice Processer                               1
 Linksys Sr224g 24 Port Switch                               1
  AM Transmitter and Studio                                Count
  Audioarts AIR4 Board                                       1
  Technics Stereo Receiver SA-EX320                          1
  Sage Digital Endec Eas                                     1
  Sage ENDEC Receiver                                        1
  Stanton c.500 Dual rack mount Cd Player                    1
f DBX 286S Mic Preamp Processer                              1
  Telos Phone System                                         1
 FM Transmitter and studio                                 Count
 Inovonics AM Processor                                      1
 Nautel NV20Lt Fm Transmitter                                1
 Nautel AMPFET 1 AM Transmitter                              1
 Circuitwerkes Sicon-8 Remote Site Cntroller                 1
 Omnia Audio Processer                                       1
 BW Broadcast TX600V2                                        1
 DBX 286A Mic Preamp Processer                               1
 Telos Phone System                                          1
 Stanton c.500 Dual rack mount CD Player                     1
 Greenville Engineering Room                               Count
 Wegener Audiio Server                                       1
 XDS Pro4Q Satelite Receiver                                 1
 Netgear ProSafe 24 Port Switch                              1
 Henry Auto Switches                                         2
 Barix Box                                                   2
 Arrakis Docking Unit                                        2
 Desktop computer (2 have Arrakis Systems)                   2
 Streme MCR Series Media Content Receiver                    1




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          SUPPLEMENT TO AB 50 - EQUIPMENT

 BENTON AR - Engineering Shop & Vehicle              Count
 Arrakis Systems ARC-8 Console                         2
 TASCAM M-312 MIXER                                    1
 Avaya IP Offcie 500 V2                                1
 Avaya 1408D02A-003 Phones                             8
 Netgear FS116                                         1
 Netgear Prosafe 24 Port 10/100 Switch                 1
 Cisco SF 200-48 switch                                1
 3Com Switch 3226                                      1
 Cisco Catalyst 2960 Switcher                          3
 Cisco Catalyst 2950 Switcher                          1
 Gorman Redlich EAS Encoder                            1
 Sage Digital Endec 3644                               3
 Digigram 222HR Audio Cards                            3
 Audio Science ASI6514                                 1
 Audio Science ASI6685                                 2
 Audio Science ASI6540                                 3
 Audio Science BOB                                     6
 Broadcast Tools 8.2 Plus Switcher                     1
 Quintech 16 Way Splitter LS16 2150A                   1
 ATI Dule Distribution Amplifier DA208                 1
 Eventide Broadcast Delay DB914                        1
 Air Tools Broadcast Delay 6000
 Gentner SPH-10 Telephone Hybrid                       1
 Gentner SPH-5 Telephone Hybrid                        1
 TEAC TX110 FM Stereo Tuner                            1
 ROLLS AM FM DIGITAL TUNER HR78                        5
 ROLLS AM FM DIGITAL TUNER RS80                        1
 Bext FM Receiver 210                                  1
 Sony Digital Audio Tuner STR-K74DP                    1
 Dayton NOAA Weather Receiver AF6300                   1
 Dayton FM Monitor610                                  1
 Symetrix 528e Voice Processor                         2
 DBX 284A Mic Preamp Processor                         1
 DBx 286A Mic Preamp Processor                         2
 DbX 266XL Compressor Gate                             1
 symetrix 528 Voice Processor                          1
 Behringer Composer Pro XL                             1
 Dolby Spectral Processor 740                          1
 Blonder Labs Agile Demodulator AD-18                  1
 Andrew Dehydrator                                     1
 Andrew Deyhydrator MR050                              1
 Orban 8000 A AM Processor                             2
 Orban 8100 A AM Processor                             1
 CRL Spectral Entergy Compressor SEC 400               1
 Apex System Compellor                                 1
 Inovoincs AM Processor 222                            1
 Broadcast Electronics AM-500                          1
 CCA FM 20g EXCITER                                    1
 Marti Transmitter STL-10                              2
 Marti Reciever R10                                    1
 Moseleyl PC600 STL Transmitter                        1
 Moseleyl PC606 STL Transmitter                        1
 Element 22in LCD TV                                   1
 Linksys Business router LRT224                        1
 Netgear Auto 10/100 5 Port Switch                     1
 TP Link TLSG1024 Switch                               1
 Dlink DGS108 Switch                                   1
 Sage Digital EAS 3644                                 1
 RE-20 Studio Microphones with Shockmount              6
 Lenovo ThinkCentre Computer                           2
 Dell Optiplex 380                                     3
 Dell LED Monitors 27”                                 6
 HP ProOne 600 All in one Computer 27”                 1
 Comrex STAC VIP Phone Hybrid Mainframe                1
 Comrex STAC VIP phone Phone Assistant                 1
 Audio Arts PS                                         1
 Audio Arts R-55 On Air Audio Console                  1
 Audio ARTS R-60 PS                                    1
 Audio ARTS R-60 One Air Audio Console                 1
 Mosely PCL STL Transmitter 6000                       1
 Cambium Networks PTP 800                              2
 Xerox WorkCentre 6027 Multi Copy FAX                  1




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                                    ADDENDUM AB-62 – LEASE AND FCC LICENSE STATUS




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                                  ADDENDUM – SCHEDULE G
                          NON-VERTICAL BRIDGE TOWER LEASES DETAIL

 KGRW FM                City of Friona         $500 per month includes electric utility.
                        Start Date             Sept. 2023
                        Terms                  Five Years
                        Options                Automatically Renews Annually
                        Location               W 15th and St James Ave      Friona, TX. 79035
                        Personal Guarantee     None
 KKYN FM                Lift Systems LLC       $350 per month
                        Start Date             Sept 2023.
                        Terms                  Five Years
                        Options                Five Years Repeated
                        Location               County Rd 143 Halfway TX.
                        Personal Guarantee     None
 KRIA FM                Lift Systems LLC       $350 per month
                        Start Date             Sept 2023.
                        Terms                  Five Years
                        Options                Five Years Repeated
                        Location               County Rd 143 Halfway TX.
                        Personal Guarantee     None
 KNNK FM                South Plains Com.      $700 per month includes electric utility.
                        Start Date             January 2024
                        Terms                  Five Years
                        Options                Five Years Repeated
                        Location               HWY 610 Castro County TX.
                        Personal Guarantee     None
 KVWC FM                D&D Communications     $600 per month
                        Start Date             Planned June 01, 2024
                        Terms                  Five Year
                        Options                Five Years Repeated
                        Location               937 N Bailey St – Electra, TX 76360
                        Personal Guarantee     None
 KYBE FM                D&D Communications     $600 per month
                        Start Date             Planned June 01, 2024
                        Terms                  Five Year
                        Options                Five Years Repeated
                        Location               937 N Bailey St – Electra, TX 76360
                        Personal Guarantee     None
 KCKL FM                Titan Tower            $800 per month
                        Start Date             August 01, 2023
                        Terms                  Five Years
                        Options                Five Years Repeated
                        Locations              32-14-11.0 N 095-50-21.0 W            Athens, TX.
                        Personal Guarantee     None


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                                   ADDENDUM – SCHEDULE G
                           NON-VERTICAL BRIDGE TOWER LEASES DETAIL

 KLVQ FMX Titan Tower                            $400 per month
          Start Date                             August 01, 2023
          Terms                                  Five Years
          Options                                Five Years Repeated
          Locations                              32-14-11.0 N 095-50-21.0 W            Athens, TX.
          Personal Guarantee                     None


                                       ADDENDUM – SCHEDULE G
                                        OFFICE LEASE DETAIL

 Mtn. Hm.               M Properties             Annual $6007.33
                        Start Date:              April 30, 2016
                        Terms                    Extended through the end of 2026.
                        Options                  To be reviewed end of 2026.
                        Location                 223 Russell St. – Mountain Home, AR.
                        Personal Guarantee       None

 W-Tex                  Media Facilities LLC     Annual $30,000
                        Start Date:              January 01, 2022
                        Terms – Options          5 years – Additional 5-year
                        Location                 3218 Quincy St – Plainview, TX.
                                                 Includes small office at: Hereford and Littlefield
                        Personal Guarantee       None

 Great Plains           Media Facilities LLC     Annual $30,000
                        Start Date:              March 01, 2022
                        Terms - Options          5 Years – Additional 5-year
                        Location                  808 Main St – Altus, OK
                                                 Includes small office at: Vernon and Frederick
                        Personal Guarantee       None

 Delta                  Media Facilities LLC     Annual $30,000
                        Start Date:              March 01, 2022
                        Terms - Options          5 Years – Additional 5-year
                        Location                 1360 Radio Road – Helena AR
                                                 Includes small office at: Greenville, MS.
                        Personal Guarantee       None




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                        SCHEDULE H – CO-DEBTORS ON EQUIPMENT LEASES




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Fill in this information to identify the case:

Debtor name         High Plains Radio Network, LLC

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF TEXAS

Case number (if known)    24-70089
                                                                                                                               Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                              04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

      None.
      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                            Operating a business                                $544,675.16
      From 1/01/2024 to Filing Date
                                                                                       Other


      For prior year:                                                                  Operating a business                              $2,500,795.32
      From 1/01/2023 to 12/31/2023
                                                                                       Other


      For year before that:                                                            Operating a business                              $2,078,811.39
      From 1/01/2022 to 12/31/2022
                                                                                       Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None.
      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




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Debtor       High Plains Radio Network, LLC                                                      Case number (if known) 24-70089



      Creditor's Name and Address                                   Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                          Check all that apply
      3.1.
             See Attached Addendum                                                                          $0.00          Secured debt
                                                                                                                           Unsecured loan repayments
                                                                                                                           Suppliers or vendors
                                                                                                                           Services
                                                                                                                           Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      None.
      Insider's name and address                                    Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.   See Attached Addendum                                                                          $0.00


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
      Creditor's name and address                      Describe of the Property                                         Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

      None
      Creditor's name and address                      Description of the action creditor took                          Date action was               Amount
                                                                                                                        taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      None.
             Case title                                Nature of case               Court or agency's name and                 Status of case
             Case number                                                            address
      7.1.   Vertical Bridge Reit, LLC vs.             collection                   Circuit Court -15th Judicial                Pending
             High Plains Radio Network,                                             Circuit                                     On appeal
             LLC                                                                    205 North Dixis Hwy
                                                                                                                                Concluded
             50-2022-CA-001423                                                      3188 PGA Blvd
                                                                                    West Palm Beach, FL 33401


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

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Debtor        High Plains Radio Network, LLC                                                     Case number (if known) 24-70089



Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      None
              Recipient's name and address            Description of the gifts or contributions                 Dates given                           Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
      Description of the property lost and            Amount of payments received for the loss                  Dates of loss           Value of property
      how the loss occurred                                                                                                                          lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      None.
               Who was paid or who received             If not money, describe any property transferred               Dates              Total amount or
               the transfer?                                                                                                                      value
               Address
      11.1.    Weycer Kaplan Pulaski &
               Zuber, P.C.
               24 Greeway Plaza, Suite 2050
               Houston, TX 77046                         - SEE ALSO, ADDENDUM                                         3/19/24                  $5,000.00

               Email or website address


               Who made the payment, if not debtor?




      11.2.    Weycer Kaplan Pulaski &
               Zuber, P.C.
               24 Greeway Plaza, Suite 2050
               Houston, TX 77046                         - SEE ALSO, ADDENDUM                                         3/25/24                  $4,000.00

               Email or website address


               Who made the payment, if not debtor?




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Debtor        High Plains Radio Network, LLC                                                    Case number (if known) 24-70089



               Who was paid or who received               If not money, describe any property transferred              Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.3.    Weycer Kaplan Pulaski &
               Zuber, P.C.
               24 Greeway Plaza, Suite 2050
               Houston, TX 77046                          - SEE ALSO, ADDENDUM                                         3/25/24                    $6,000.00

               Email or website address


               Who made the payment, if not debtor?




      11.4.    Weycer Kaplan Pulaski &
               Zuber, P.C.
               24 Greeway Plaza, Suite 2050
               Houston, TX 77046                          - SEE ALSO, ADDENDUM                                         3/26/24                    $7,500.00

               Email or website address


               Who made the payment, if not debtor?




      11.5.    Weycer Kaplan Pulaski &
               Zuber, P.C.
               24 Greeway Plaza, Suite 2050
               Houston, TX 77046                          - SEE ALSO, ADDENDUM                                         3/26/24                    $8,500.00

               Email or website address


               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.
              Who received transfer?                   Description of property transferred or                    Date transfer              Total amount or
              Address                                  payments received or debts paid in exchange               was made                            value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.



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Debtor        High Plains Radio Network, LLC                                                    Case number (if known) 24-70089




      Does not apply
                Address                                                                                            Dates of occupancy
                                                                                                                   From-To
      14.1.     PO Box 1478
                Plainview, TX 79073

      14.2.     205 S 25 Mile Ave
                Hereford, TX 79045

      14.3.     3218 Quincy St
                Plainview, TX 79072

      14.4.     2300 Country Rd 40
                Plainview, TX 79072

      14.5.     725 FM 2013
                Friona, TX 79035

      14.6.     808 Main Street
                Altus, OK 73522

      14.7.     207 West Grand Avenue
                Frederick, OK 73542

      14.8.     2651 CR 191
                Littlefield, TX 79339

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
      Yes. Fill in the information below.

                Facility name and address              Nature of the business operation, including type of services            If debtor provides meals
                                                       the debtor provides                                                     and housing, number of
                                                                                                                               patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

          No.
      Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
      Yes. Does the debtor serve as plan administrator?

Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,

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Debtor      High Plains Radio Network, LLC                                                       Case number (if known) 24-70089



    cooperatives, associations, and other financial institutions.

      None
               Financial Institution name and           Last 4 digits of           Type of account or           Date account was                  Last balance
               Address                                  account number             instrument                   closed, sold,                 before closing or
                                                                                                                moved, or                              transfer
                                                                                                                transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


      None
      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


      None
      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No.
      Yes. Provide details below.
      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

          No.
      Yes. Provide details below.


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      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

          No.
      Yes. Provide details below.
      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None
   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
           None
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Monte L. Spearman
                    PO Box 1478
                    Plainview, TX 79073

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

          No
      Yes. Give the details about the two most recent inventories.
               Name of the person who supervised the taking of the                   Date of inventory       The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.


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Debtor      High Plains Radio Network, LLC                                                     Case number (if known) 24-70089



      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Monte L. Spearman                      PO Box 1478
                                             Plainview, TX 79073



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


          No
      Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

      No
          Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 See SOFA 4 Above
      .

             Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

          No
      Yes. Identify below.
   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
      Yes. Identify below.
   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




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Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         May 13, 2024

/s/ Monte L. Spearman                                           Monte L. Spearman
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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 ADDENDUM SOFA 3 – SEE BELOW

 ADDENDUM SOFA 4 – SEE BELOW

 ADDENDUM SOFA 11 – SEE BELOW




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 1                                 SOFA 3 ADDENDUM
 2                                       High Plains Radio Network LLC

  3                                        Vendor Payments
  4                                           12/27/2023 To 3/26/2024
  5
  6             Recipient                            Address 1               Amount Paid
  7 Adobe Production Service       acct 456180863                                   $393.00
  8                                345 Park Ave.
  9                                San Jose, CA 95110-2704
 10
 11
 12 ADP Payroll                    ADP Services                                  $240,259.00
 13
 14
 15
 16
 17 Airgas USA LLC                 PO Box 734671                                    $119.52
 18                                Dallas, TX 75373-4671
 19                                USA
 20
 21
 22 Altus Power                    509 S Main St                                   $1,005.00
 23                                Altus, OK 73521
 24
 25
 26
 27 American Express MLS           PO Box 650448                                   $2,406.00
 28                                Dallas, Tx 79265-0448
 29
 30
 31
 32 American Family Insurance      4050 S. Timberline Rd.                          $1,774.39
 33                                Ft. Collins, Co. 80525
 34                                USA
 35
 36
 37 AppRiver                       PO Box 749665                                    $159.90
 38                                Atlanta, GA 30374-9665
 39
 40
 41
 42 Arrakis Systems                6604 Powell St                                  $2,700.00
 43                                Loveland, Co 80538
 44
 45
 46
 47 Atmos GV                       GV 4008614071                                    $333.79
 48                                PO Box 740353
 49                                Cincinnati, OH 45274-0353
 50
 51



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  1                                 SOFA 3 ADDENDUM
 52 Atmos    HF                     HF 404770109 3008216154                        $651.39
 53                                 PO Box 740353
 54                                 Cincinnati, OH 75274-0353
 55
 56
 57 Atmos    PLVW                   PLVW 3006939574                                $935.03
 58                                 PO Box 740353
 59                                 Cincinnati, OH 45274-0353
 60
 61
     Bane Investment Holdings LLC   824 N Marshall St                             $2,050.00
62
63                                  Henderson, TX 75652
64
65
66
67 Baxter County Collector          attn: Teresa Smith                             $135.40
68                                  #8 East 7th St
69                                  Mountain Home, AR 72653
70
71
72 Black Hills Energy               PO Box 6006                                    $588.46
73                                  Rapid City, SD 57709
74
75
76
77 Bluepeak                         5100 S Broadband Lane                          $889.75
78                                  Sioux Falls, SD 57108
79
80
81
82 BMI                   ZULA       PO Box 630893                                  $551.79
83                                  Cincinnati, OH 45263-0893
84
85
86
87 BMI          Master 23           PO Box 630893                                 $7,069.29
88                                  Cincinnati, OH 45263-0893
89
90
91
92 Brightspeed         Athens       PO Box 6102                                     $58.89
93                                  Carol Stream, IL 60197-6102
94
95
96
97 City of Frederick                Utility Dept.                                 $1,110.87
98                                  PO Box 399
99                                  Frederick, OK 73542
100
101



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 1                               SOFA 3 ADDENDUM
102 City of Friona               c/o Leander Davila                             $3,709.68
103                              623 Main St.
104                              Friona, TX 79035
105
106
107 City of Palestine            504 Queen St                                    $267.76
108                              Palestine, TX 75801
109
110
111
112 City of Vernon               1725 Wilbarger                                  $242.70
113                              Vernon, TX 76384-4741
114
115
116
117 Credit Card                  All Cards Various                             $25,673.44
118
119
120
121
122 David Fawcett                462 FM 3266                                      $45.00
123                              Palestine, TX 75801
124
125
126
127 DISH                         PO Box 94063                                   $1,756.56
128                              Palatine, IL 60094-4063
129
130
131
132 DSEC                         PO Box 753                                      $925.50
133                              Hereford, TX 79045-0753
134
135
136
137 Entergy                      PO box 8105                                   $14,987.06
138                              Baton Rouge, LA 70891-8105
139
140
141
142 ETEX Telephone Coop          PO Box 130                                      $826.41
143                              Gilmer, TX 75644-0130
144
145
146
     FCC                  HPRN   HPRN Pmt Plan                                  $8,390.49
147 Master Acct
148
149
150
151



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 1                               SOFA 3 ADDENDUM
152 FirsTier Capitol             PO Box 607                                       $515.32
153                              Kimball, NE 69145
154
155
156
157 FORA Channel                 Cash Loan Weekly Pmt                           $43,589.70
158
159
160
161
162 Fundworks                    cash loan 11/16/23                             $29,287.50
163                              $99k wkly payback $2928.75
164
165
166
     Global Music Rights         1801 W Olumpic BLVD                             $6,013.51
167 HPRN 5011-000034
168                              Pasadena, CA 91199-2280
169
170
171
172 Greenville City Of           GV 011871                                        $114.77
173                              PO Box 897
174                              Greenville, MS 38702-0897
175
176
177 Hanszen Investments          200 W. Wellington                               $5,761.20
178                              Carthage, TX 75633
179
180
181
182 Harmon Electric              3600 Armory Rd                                  $4,105.52
183                              Wichita Falls, TX 76302
184
185
186
187 Harmon Electric Assoc.       PO Box 393                                       $870.60
188                              Hollis, OK 73550-0393
189
190
191
192 Henderson City of            300 W Main St                                    $218.98
193                              Henderson, TX 75652
194
195
196
197 Hereford City Utilities      PO Box 2277                                      $347.96
198                              Hereford, TX 79045-2277
199
200
201



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 1                                   SOFA 3 ADDENDUM
202 Imagine Communications           6100 Tennyson Parkway                            $45.84
203                                  Suite 130
204                                  Plano, TX 75024
205
206
207 Jack Henry Services              PO Box 609                                       $75.00
208                                  Monett, MO 65708
209                                  USA
210
211
     Legacy Insurance Group - AFCO 105 N. Broadway                                  $1,145.49
212
213                                  Walters, OK 73572
214
215
216
217 Liberty Mutual Ins               KRP Hollie O'steen                             $4,520.74
218                                  Eastland Office
219
220
221
222 Lift Systems LLC                 PO Box 7233                                    $1,400.00
223                                  Abilene, TX 79608-7233
224
225
226
227 Lighthouse Electric COOP         PO Box 600                                     $1,341.85
228                                  Floydada, TX 79235-0600
229
230
231
232 LP&L                             Lubbock Power & Light                           $222.84
233                                  Lubbock, Tx.
234
235
236
237 LUMEN CenturyLink        JT      PO Box 2961                                     $345.54
238                                  Phoenix, AZ 85062-2961
239
240
241
242 M Properties                     2627 West Road                                 $6,007.33
243                                  Mountain Home, AR 72653
244
245
246
247 Mail & More                      210 West Oak St                                  $30.00
248                                  Palestine, TX 75801
249
250
251



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 1                                    SOFA 3 ADDENDUM
252 Medical Insurance                 all people and allpolicies 2024                $4,578.70
253
254
255
256
     Medicare Premium Collection      PO Box 790355                                   $524.10
257 Center
258                                   St. Louis, MO 63179-0355
259
260
261
262 Mississippi SOS Filings           Mississippi                                     $251.25
263                                   Secretary of State
264
265
266
267 North Arkansas Electric Co-op     PO Box 1000                                     $593.27
268                                   Salem, AR 72576-1000
269
270
271
272 Oklahoma Natural Gas              Oklahioma                                       $132.50
273                                   Natural Gas
274
275
276
277 Optimum Delta                     1111 Stewart Ave.                              $1,265.08
278                                   Bethpage, NY 11714-3581
279
280
281
282 Optimum E-Tex                     PO Box 70340                                   $2,037.91
283                                   Philadelphia, PA 19175-0340
284
285
286
     Perkins Insurance Agencies LLC   First Insurance                                $7,712.95
287
288                                   104 N. Lamar PO Box 351
289                                   Eastland, TX 76448
290
291
292 Pioneer Telephone                 PTCT 379568                                     $874.16
293                                   PO Box 839
294                                   Kingfisher, OK 73750-0839
295
296
297 Plainview City Utilities          202 W 5th                                       $642.84
298                                   Plainview, TX 79072
299
300



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 1                                   SOFA 3 ADDENDUM
301
      Property Tax Master 2024       All Couties Real and Personal Property Tax       $2,356.99
302                                  2023
303
304
305
306
307 Quality Air Service Center LLC   1410 Quincy St                                     $87.99
308                                  Plainview, TX 79072
309
310
311
312 RAB                              PO Box 972036                                     $348.00
313                                  Dallas, TX 75397-2036
314
315
316
317 Regional Reps Gen Media          1655 Palm Beach Lakes Blvd.                       $972.47
318                                  9th Floor Suite 903
319                                  West Palm Beach, FL 33401
320
321
322 Reliant                          PO Box 650475                                    $1,906.40
323                                  Dallas, TX 75265-0475
324
325
326
327 Rodney Orr Insurance             PO Box 593                                        $915.44
328                                  Hope, AR 71802
329
330
331
332 Sangre De Cristo Electric        PO Box 2013                                       $216.78
333                                  Buena Vista, CO 81211
334
335
336
      SBA                Loan        PO Box 3918                                       $632.00
337 #8557278005
338                                  Portland, OR 97208
339
340
341
342 SBA Towers III LLC               PO Box 935148                                    $4,967.16
343                                  Atlanta, GA 31193-5148
344
345
346
347 SESAC              566565        PO Box 5246                                        $82.56
348                                  New York, NY 10008-5246
349



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 1                                SOFA 3 ADDENDUM
350
351
352 Skynet Country Inc.           PO Box 1484                                     $245.85
353                               Gladewater, TX 75647
354
355
356
357 South Plains Communications   c/o Matt Reid                                  $2,250.00
358                               5811 34th St
359                               Lubbock, TX 79407
360
361
362 SouthGroup Ins - Tapco        PO Box 958                                     $1,259.46
363                               Greenville, MS 38702
364
365
366
367 Summit Utilities              Acct 210100260523                               $273.00
368                               PO Box 676357
369                               Dallas, TX 75267-6357
370
371
372 SWEPC                         Southwest Electric Power                       $1,833.94
373
374
375
376
377 Swisher Electric Coop Inc     PO Box 67                                      $1,252.43
378                               Tulia, TX 79088-0067
379
380
381
382 SWRE                          PO Box 310                                     $2,030.00
383                               Tipton, OK 73570-0310
384
385
386
387 SYNTRIO Santa Rosa Com        PO Box 2128                                     $300.77
388                               Vernon, TX 76385-2128
389
390
391
     Tacher Media Reps   Gen      1655 Palm Beach Lakes BLVD                     $2,386.80
392 Media
393                               Suite #903
394                               West Palm Beach, FL 33401
395
396
397 TITAN Towers LP               PO Box 6972                                    $6,600.00
398                               Abilene, TX 79608
399



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 1                                 SOFA 3 ADDENDUM
400
401
402 Town of Johnstown               PO Box 609                                      $508.96
403                                 Johnstown, Co 80534
404
405
406
407 Turbo Cap                       Turbo Cap Funding                              $2,498.33
408
409
410
411
412 TVEC                            PO Box 1228                                    $1,310.00
413                                 Kaufman, TX 75142-5403
414
415
416
417 TXU Energy                      PO Box 650638                                  $1,294.04
418                                 Dallas, TX 75265-0638
419
420
421
422 Union Funding Source Inc        1835 E Hallendale Beach BLVD #278             $21,358.75
423                                 Hallendale, FL 33009
424
425
426
427 United First                    United First Funding                            $968.00
428
429
430
431
432 Verizon                         JT 626165711-00001                             $1,027.01
433                                 PO Box 660108
434                                 Dallas, TX 75266-0108
435
436
437 Verizon Master Acct             PO Box 660108                                  $4,852.28
438                                 Dallas, TX 75266-0108
439
440
441
442 West Helena Water Utility       92 Plaza                                        $340.37
443                                 West Helena, AR 72390
444
445
446
     Weycer, Kaplan, Pulaski & Zuber 24 Greenway Plaza Suite 2050                 $31,000.00
447 PC
448                                 Houston, TX 77046
449



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 1                                SOFA 3 ADDENDUM
450
451
452 Xcel Energy                   PO Box 9477                                    $1,714.83
453                               MPLS, MN 55484-9477
454                               USA
455
456
457 Xerox Financial Services      PO Box 202882                                   $592.89
458                               Dallas, TX 75320-2882
459
460
461
462




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